    Case 1:18-cv-00068 Document 554 Filed on 01/26/21 in TXSD Page 1 of 3



                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                           BROWNSVILLE DIVISION

                                                   )
STATE OF TEXAS, ET AL.;                            )
                                                   )
                                       Plaintiffs, )
                                                   )
v.                                                 )       Case No. 1:18-cv-00068
                                                   )
                                                   )
UNITED STATES OF AMERICA, ET AL.;                  )
                                                   )
                                     Defendants, )
                                                   )
and                                                )
                                                   )
KARLA PEREZ, ET AL.;                               )
                                                   )
STATE OF NEW JERSEY,                               )
                                                   )
                          Defendants-Intervenors. )
                                                   )

                       PLAINTIFF STATES’ RESPONSE
                   TO DEFENDANT-INTERVENORS’ LETTER

      At every conceivable turn, Defendant-Intervenors have sought to avoid or

delay the Court’s consideration of the merits of this case. See ECF 38; ECF 52; ECF

118; ECF 224; ECF 259; ECF 335; ECF 349; ECF 363; ECF 432; ECF 463; ECF 480;

ECF 484. Months ago, the Court recognized that a ruling on Plaintiff States’ motion

for summary judgment “has been delayed too long already.” See ECF 473 at 3. Now,

after the parties have fully briefed and argued that motion to the Court, Defendant-

Intervenors once again tell the Court to stop. But the reasoning behind their request

has it backward.
    Case 1:18-cv-00068 Document 554 Filed on 01/26/21 in TXSD Page 2 of 3




      The memorandum from President Biden attached to their letter proves why an

order from this Court is the only way for Plaintiff States to get relief. DACA has been

unlawful from its inception. See generally ECF 319. The U.S. Supreme Court has now

affirmed the core of this Court’s analysis—that DACA did more than announce a

passive, non-enforcement policy. Dep’t of Homeland Sec. v. Regents of the Univ. of

Cal., 140 S. Ct. 1891, 1906 (2020). Rather, “it created a program for conferring

affirmative immigration relief.” Id.

      The agency action creating that program must be set aside. 5 U.S.C. § 706(2);

see also Sw. Elec. Power Co. v. EPA, 920 F.3d 999, 1022 (5th Cir. 2019). Yet the Biden

memorandum proves that he has no such plans. See ECF 550.1. Rather, he has

instructed his administration to “preserve and fortify” the unlawful program.

Plaintiff States shouldn’t have to wait for the program to become even more unlawful

before the Court sets it aside (let alone wait for “new officials . . . to become familiar

with the issues in this case” as requested by the Federal Defendants, see ECF 552).

      As explained at last month’s hearing, Plaintiff States are not asking for an

injunction that would forever bar the Biden administration from acting in this space.

Even in light of a vacatur from this Court, the Biden administration would be free to

push for legislation that has previously failed. Or it could even issue a new

memorandum, the legality of which could then be analyzed on its own terms. But

there is no reason for the Court to allow the unlawful 2012 DACA memorandum to

stand, particularly when the new administration admits that it is not going to rescind

the program. More than ever, this case is ripe for a final resolution on the merits.
    Case 1:18-cv-00068 Document 554 Filed on 01/26/21 in TXSD Page 3 of 3




January 26, 2021                          Respectfully submitted.

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                          CERTIFICATE OF SERVICE

     I hereby certify that on January 26, 2021, I electronically filed the foregoing
document through the Court’s ECF system, which automatically serves notification
of the filing on counsel for all parties.

                                          /s/ Todd Lawrence Disher
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